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     Gustavo Lopez, Petitioner  v.  The People of the State of Colorado, Respondent No. 24SC244Supreme Court of Colorado, En BancDecember 24, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 19CA2313
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      a criminal defendant can open the door to expert witness
      testimony that another witness told the truth on a particular
      occasion.
    